
2 U.S. 302 (____)
2 Dall. 302
BRUDENELL et al.
versus
VAUX et al.
Supreme Court of United States.

Present WILSON and PETERS, Justices.
Lewis &amp; Tilghman, for the plaintiff. Ingersoll, Rawle, &amp; Thomas, for the defendant.
THE question in this cause arose upon the act of Assembly for recording Mortgages (1 Vol. Dall. Edit. p. 112) the mortgage of the defendants having been recorded after the expiration of six Lunar, but within six Calendar, months, from the date: And THE COURT, having compared this, with other acts of the Legislature, were of opinion, that by the word "months," Calendar months were intended.
